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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 26, 2011, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the District of
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